UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

ln Re:
Justo Reyes

Debtor.

 

NOTICE OF MOTION FOR
TERMINATION OF AUTOMATIC STAY

Case No.: 16-22556-rdd
(Chapter l3)

Assigned to:
Hon. Robert D. Drain
Bankruptcy Judge

Please take notice that Wells F argo Bank, N.A. as servicing agent for U.S. Banl< National Association, as

Trustee for Citigroup Mortgage Loan Trust, lnc. 2007-AHL1, Asset-Backed Pass-Through Certii`icates Series

2007-AHL1, a secured creditor of Debtor, by the undersigned attorneys, Will move this Court on March 13, 2019

at 10:00 a.m. or as soon thereafter as counsel can be heard, at the United States Bankruptcy Court, 300 Quarropas

Street, Room 118, White Plains, NY 10601 for an Order pursuant to ll U.S.C. §362(d)(l) and ll U.S.C

§l322(b)(5) terminating the automatic stay as to movant's interest in real property commonly known as 90

Lakeview Avenue, Hartsdale, NY 10530 and for such other relief as the Court may deem proper.

DATED: December 7, 2018
Williamsville, New Yorl<

Yours,

By:

Courtney R. Williams, Esq.

GROSS POLOWY, LLC

Attorneys for Secured Creditor

Wells Fargo Banl<, N.A. as servicing agent for
U.S. Bank National Association, as Trustee for
Citigroup Mortgage Loan Trust, lnc. 2007-
AHLI , Asset-Bacl<ed Pass-Through Certificates
Series 2007-AHLl

1775 Wehrle Drive, Suite 100

Williamsville, NY 14221

Telephone (716)204-1700

TO:

Justo Reyes
90 Lakeview Ave
Hartsdale, NY 10530

Linda M. Tirelli, Esq.

Tirelli & Wallshein
Westchester Financial Center
50 Main Street

Suite 405

White Plains, NY 10606

Krista M. Preuss, Esq.
399 Knollwood Road
Suite 102

White Plains, NY 10603

United States Trustee

Office of the United States Trustee
U.S. Federal Ofi`ice Building

201 Varick Street, Room 1006
New York, NY 10014

Debtor

Attomey for Debtor

Chapter 13 Trustee

U.S. Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

AFFIRMATION

In Re: Case No.: l6-22556-rdd
(Chapter 13)
Justo Reyes
Debtor.
Assigned to:
Hon Robert D. Drain
Bankruptcy Judge

 

I, Courtney R. Williams, Esq., am an attorney duly licensed to practice law in the Couits of this State and

in the United States Bankruptcy Court for the Southern District of New York and hereby state as follows:

1. I submit the within Affirmation under penalty of perjury in support of the motion of Wells Fargo
Bank, N.A. as servicing agent for U.S. Bank National Association, as Trustee for Citigroup Mortgage Loan Trust,
Inc. 2007-AHL1, Asset-Backed Pass-Through Certificates Series 2007-AHL1 ("Secured Creditor"), a Secured
Creditor of the above-referenced Debtor, to terminate the automatic stay in this case with respect to the real

property commonly known as 90 Lakeview Avenue, Hartsdale, NY 10530.

2. Secured Creditor is the holder of a note executed by Justo Reyes on or about the 21st day of
September, 2006 in the principal amount of $568,000.00 and interest (the "Note"), secured by a mortgage bearing
even date therewith, which is recorded in the Office of the Westchester County Clerk on the 23rd day of October,
2006 in Control Number 462780159 (the "Mortgage") covering the premises commonly known as 90 Lakeview
Avenue, Hartsdale, NY 10530 (the "Mortgaged Premises"). A copy of the Note, Mortgage, and Assignments is

annexed hereto as Exhibit 'A'.

3. On the 2lst day of April, 2016 Debtor Justo Reyes filed a Petition under Chapter 13 of Title 11

U.S.C. §101 et seg with this Court, and an Order for relief was duly entered.

4. The Note and Mortgage provide that the Debtor will be in default if he does not make full
monthly payments on each due date. As of November 29, 2018, the Debtor is due for 7 payments in the amount of
$4,932.75 each for the months of May 1, 2016 to November 1, 2016, 7 payments in the amount of $4,878.21 each
for the months of December 1, 2016 to June 1, 2017, 12 payments in the amount of $4,860.91 each for the months
of July 1, 2017 to June 1, 2018 and 5 payments in the amount of $4,869.07 each for the months of July 1, 2018 to
November 1, 2018 and has not cured said default. Furthermore, 1 payment due on December 1, 2018 is now due
and 3 payments due January 1, 2019 to March 1, 2019 will be due at the date this motion is heard. A Motion for

Relief from Stay Worksheet is attached hereto as Exhibit 'B'.

5. As of the 29th day of November, 2018, there is a total indebtedness on the Note and Mortgage in
the sum of $1,248,228.10. lnterest on the unpaid principal balance will continue to accrue, and to protect its
security in the Mortgaged Premises Secured Creditor may be required to make advances for property taxes,

insurance and related matters.

6. The statement setting forth the basis for asserting that the applicable party has the right to
foreclose in accordance with National Servicing Standards (NSS) is: Debtor(s) executed a promissory note
secured by a mortgage or deed of trust. The promissory note is either made payable to Creditor or has been duly
indorsed. Creditor, directly or through an agent, has possession of the promissory note. Creditor is the original

mortgagee or beneficiary or the assignee of the mortgage or deed of trust.

7. Based on the Appraisal attached hereto as Exhibit 'C', said real property is valued at
$500,000.00. Based on the Secured Creditor’s lien amount and the value of the Mortgaged Premises, there is no

equity in the premises.

8. Section 362(d)(1) of the Bankruptcy Code provides in pertinent part that the Court shall grant
relief from the stay imposed by Section 362(a) "for cause, including lack of adequate protection of an interest in
property..." As set forth above, "cause" exists to vacate the automatic stay as the Debtor has failed to make
monthly post-petition mortgage payments to Secured Creditor. Under Section 362(d)(1), failure to make post-
petition mortgage payments constitutes "cause" to modify the automatic stay. E, In re Tav]or, 151 B.R. 646
(E.D.N.Y. 1993); ln re Davis, 64 B.R. 358, 359 (Bankr. S.D.N.Y. 1986); hi re Frascatore, 33 B.R. 687 (B. Ct.

E.D. Pa. 1983).

9. A copy of a proposed Order granting the relief sought by Secured Creditor is annexed hereto as

Exhibit 'D'.

10. ln the event that this motion is scheduled to be heard beyond the time-period set forth in 11
U.S.C. Section 362(e) or is subsequently adjourned beyond said time period, Secured Creditor hereby waives its

rights under 11 U.S.C. Section 362(e) and agrees to be bound by the Order of the Court on the instant Motion.

11. No prior application has been made for the relief requested herein.
WHEREFORE, Secured Creditor respectfully requests that an Order be granted terminating the
automatic stay immediately as to Secured Creditor's interest in the Mortgaged Premises together with such other,

further and different relief as the Court may deem just in this matter.
DATED: December 7, 2018 `
Williamsville, New York Yours,

Byf C\§\F\)MH/Yc\` \jl® ®§n€¥,W-'

Courtney R. Williams, Esq.

GROSS POLOWY, LLC

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